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                                                                                FILED
                      UNITED STATES DISTRICT COURT                          ^      n'      '
                      SOUTHERN DISTRICT OF GEORGLA                          " '
                              AUGUSTA DmSION                            2OI6 APR I 3 PH 12= 22
UNITED STATES OF AMERICA               )                             CLERKb=^:i^®E5^
                                                                           c.n niQT OF
                                                                            ,0.DIST. nr GA.
                                                                                        nt ^

      V.                                   INDICTMENT NO.: CR116-024


JOHN WILLIAMS,
ANTONIO BINNS, and
JUSTIN WASHINGTON,

      Defendants.

                             UNSEALING ORDER


      Upon motion of the United States for an order unsealing the Indictment,

together with any and all process issued thereunder and the motion to seal and

order sealing said documents in the above-styled matter, and good cause appearing

therefor, the investigation and arrests of Defendant will not be compromised by

unsealing said documents and that such documents with be provided to counsel for

Defendants, it is,

      ORDERED that the Government's motion is GRANTED. The Indictment,

returned by the Grand Jury for the Southern District of Georgia on or about April 7,

2016 in the above-styled matter, together with any and all process issued

thereunder and the motion to seal and order sealing said documents in the above-

styled matter, are hereby UNSEALED.

      Order entered at Augusta, Georgia, this / J day of April, 2016.




                                      HON.
                                           AA
                                        N. BRIAN kYePPS
                                                 KtePPS
                                      UNITED STATES MAGISTRATE JUDGE
